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                                                      April 28, 2020


 VIA ECF FILING

 The Honorable Peggy Kuo
 Magistrate Judge
 United States District Court for the
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:       In re: Propecia (Finasteride) Products Liability Litigation
                  Paul Dawson v. Merck & Co., Inc. and Merck Sharp & Dohme Corp.,
                  Case No. 1:12-cv-01876 (BMC)(PK)
                  Request for Extension to Submit Supplemental Information in Light of
                  Ongoing Discussions


 Dear Magistrate Judge Kuo:

          Counsel for Defendants Merck & Co., Inc. and Merck Sharp & Dohme Corp.
 (collectively “Merck”) submits this letter to request an additional extension of time until May 8,
 2020, for Merck to submit its supplemental briefing concerning the documents at issue in the
 above-referenced matter. Merck and counsel for Intervenor Reuters America LLC (“Reuters”)
 are currently engaged in discussions concerning possible resolution of the matter, which may
 impact the supplemental filing Merck submits. Currently, Merck’s supplemental briefing is due
 April 29, 2020, per the Court’s April 22, 2020 order granting Merck’s previous request to extend
 to the time to submit its supplemental briefing.

        Counsel for Merck has discussed this request for additional time with counsel for
 Reuters, and Reuters consents to and does not oppose Merck’s request for additional time.

         Should the Court wish to discuss this matter, the parties will make themselves available
 at the Court’s convenience.

        Respectfully submitted,

        /s/ Katherine M. Bolger                                      /s/ Charles F. Morrow
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        Attorneys for Intervenor Reuters America
        LLC



                                CERTIFICATE OF SERVICE

         The undersigned does hereby certify that a copy of the foregoing has been served upon all
 registered attorneys electronically using the court’s ECF system this 28th day of April, 2020.


                                                     /s/ Charles F. Morrow
                                                     Charles F. Morrow
